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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

             v.                                                  21-CR-164 RCL

ANNA MORGAN LLOYD


          MEMORANDUM IN SUPPORT OF PROBATIONARY SENTENCE

       Mrs. Anna Morgan LLoyd is a forty nine year old grandmother who drove to
Washington, D.C. on January 5, 2021 at the invitation of her hair- dresser and friend
Dona Bissey, to hear the President speak. According to F.B.I. reports, Mrs. Lloyd's
statements to law enforcement and to the filed Criminal Information, she was
present during protests in the Capitol Building. She has plead guilty to Count IV of
the Information. Parading, Demonstrating, or Picketing in a Capitol Building, in
violation of Title 40, United States Code, Section 5104(e)(2)(G)

       The parties agree that a sentence of Probation, with 40 hours of community
service and an Order of Restitution of $500.00 is a just and fair sentence pursuant
to 18 USC §3553 (a) that is not greater than necessary to reflect the seriousness of
the offense; to promote respect for the law and to provide just punishment for the
offense; to afford adequate deterrence; to protect the public from further crimes
of the defendant.

       Mrs. Lloyd has never before been in legal difficulty. She assures the Court
she does not intend or expect to ever again break the law. Mrs. Lloyd is the
youngest of three daughters born in rural Indiana to Mary and Richard Morgan.
When she was a little girl her parents divorced. Her father abandoned the family.
Her mother got a job in order to support the children and to be removed from
public assistance. Her mother worked at General Electric building refrigerators. The
sisters took care of each other. They went to school, did the housework and did
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their homework. Food and money were scarce. Anna was very close to her sisters
and her mother. After High School she wanted to join the military. Her mother
disapproved, so Anna took a job close to home. She worked as a waitress for some
time. She eventually got a job at General Electric where her mother worked. Her
life was basically work and family. In 2000 her mother died suddenly. Anne was
supported through her grief by a childhood friend--who later become her husband.

       She married her husband Shawn Lloyd in 2002. She had had a crush on him
when she was a teenager. She met him as an adult in 2000 when he was going
through a difficult divorce. His ex wife had mental health problems and he had
custody of his young daughters Anna assumed the responsibilities of motherhood-
-with no experience. Family life was made difficult by the behavior of Shawn's ex
wife towards her daughters. Anna tried to always be there, when the girls needed
her.

       When GE sent Anna's job overseas, she returned to school at Ivy Tech
Community College. She also volunteered at Joyful Noise--a music group for school
children. After she graduated from Community College, she was employed at Cook
Medical. She worked at Cook for 13 years producing medical equipment used in
minimally invasive surgeries.

      At this time Anna is no longer working. She helps care for her grandchildren.
She has two daughters and five grandchildren. Number six is due any day. Her
husband and her family are the world to her.

       Once Mrs. Lloyd understood the destruction and lawlessness of many who
entered the U.S. Capitol, she was upset, contrite and remorseful. Though she did
not defile or destroy any property, she acknowledges that her presence may have
given comfort to those who committed acts of violence and acts of destruction.
She hopes one day to return to the U.S. Capitol in homage and reverence to our
country. Though she supported the past president in January, she totally accepts
President Biden as the leader of our country. She respects the rule of law and was
horrified when she saw videos of insurgents at the Capitol on January 6, 2021.
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      I have had many political and ethical discussions with Anna Lloyd. I tendered
a booklist to her. She has read Bury My Heart at Wounded Knee, Just Mercy, and
Schindler's List to educate herself about "government policy" toward Native
Americans, African Americans and European Jews. We have discussed the books
and also about the responsibility of an individual when confronting "wrong".

       She has viewed "Burning Tulsa" on the History Channel, as well as the films
"Just Mercy" and "Mudbound". She watched part of the series on the U.S.
Constitution, produced by the James Madison Montpelier Foundation. She did this
to educate herself and to learn the American history she was not taught in school.
She has worked hard to come to terms with what she believed before January 6th,
2021 and what she has learned since then. She is a fine woman, who respects the
rights of others and apologizes to the Court and our country for entering the
Capitol-- albeit through an open door. She is terrified and awed by the power of
the Court. She makes no excuses for having entered the U.S. Capitol and in
retrospect would never ever have come to Washington in January,2021. She begs
the Court not to incarcerate her.

     WHEREFORE counsel believes that a Sentence of Probation with forty hours
of community service and an Order of $500.00 restitution is a fair, just and
appropriate Sentence for Ms. Anna Lloyd.

                               Respectfully submitted,

                               ________hhs________________
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